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                                                                       January 16,2019



         The Honorable Edgardo Ramos
         United States District Court
         Southern District of New York
         40 Foley Square
         New York, N.Y. 10007


                          Re: Christa McAulffi   Intermediate School PTO, Inc. v. Bill De Blasio,
                              18cvll6s7 (ERXOTW)


         Dear Judge Ramos:

                 I am one of the lawyers representing the Defendants in the above-subject case and I write
         to inform the Court and Plaintiffs' counsel of additional information about the timing of the
         process of making offers to students who have applied to the Specialized High Schools that is
         relevant to Plaintiffs' motion for a preliminary injunction. Plaintiffs' motion seeks an order that
         would require the New York City Department of Education ("DOE") to stop the implementation
         of the current Discovery Program and, as a result, recalibrate midstream the Specialized High
         School offers that are now in the process of being determined.

                As both Plaintiffs' papers and our January 7, 2019 letter to Your Honor correctly stated,
         the DOE had scheduled offers to be made in March 2019. However, after we sent that letter, in
         the process of preparing our opposition papers, we learned that the timing issue is much more
         complex than that. This letter is meant to offer the Court additional information about DOE's
         timeline for the complicated process of determining these Specialized High School offers-
         which must be prepared for mailing at the same time as all offers of admission to the
         approximately 80,000 New York City public high school applicants. For the reasons discussed
         below, we respectfully request that the Court issue its decision on the motion by February 25,
         20t9.
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       The Admission Process

       There are 427 high schools operated by DOE that utilize DOE's centralized admissions
process, and some high schools offer multiple programs. In total, there are approximately 800
schools and programs to which students can apply. Each student may apply to as many as 12
schools orprograms in non-specialized high schools, listing them in order of preference. DOE
mails the first round of offers of admission to all high schools, including the Specialized High
Schools, at the same time.

      In the fall of 2018, more than 29,000 students took the Specialized High School
Admission Test ("SHSAT") for admission in September 2019. The students who took the
SHSAT ranked their Specialized High School preferences on the test itself. DOE's test vendor,
Pearson, the company that develops the SHSAT, scanned the completed tests and delivered a file
with each student's score and list of Specialized High School preferences to DOE on January 4,
2019.

        DOE is still in the process of determining the cut-off scores for each Specialized High
School. According to the original schedule, DOE would provide cut-off score information to
Pearson this week together with the student identification numbers. Pearson would then run the
data to match students and schools and perform spot checks to verify accuracy, a process that
takes approximately one week. Pearson next gives DOE the offer information for the students
who took the SHSAT. DOE will then analyze the data for those students who scored just below
the cut-off score, to identify which students may be eligible for the Discovery Progtam. Students
who scored below the cut-off on the SHSAT but who may be eligible for the Discovery Program
will be so informed and asked to provide information about (i) their interest in the Discovery
Program and (ii) in some cases, their economic need.

        As for admission to all other high schools, DOE applies algorithms to the application
choices of all 80,000 students; these algorithms are designed to provide each student with his or
her highest possible preferred school. Each student is offered admission to one non-specialized
high school. Students whose score on the SHSAT exceeds the cut-off for one of their chosen
Specialized High Schools will receive offers for two schools: one Specialized High School and
one non-specialized high school.l

        DOE was scheduled to finalize and transmit the content of the approximately 80,000 high
school offer letters to outside vendors for printing and mailing by February 11,2019. Pursuant
to contract, these vendors have three weeks to complete the printing and mailing process for all

t There is one exception to   these  rules. If a student has applied and been accepted for one or
more studios at the Fiorello H. LaGuardia High School of Music and Art & the Performing Arts,
those offers will be listed on the offer letter in addition to any other offer(s).




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offer letters. These offer letters were originally scheduled to be mailed to all 80,000 high school
student applicants on March 4,2019.

       DOE Will Postpone Offers

       If  the Court were to grant a preliminary injunction, however, the cut-off score DOE
developed for each Specialized High School would need to be recalibrated-and those cut-off
scores directly impact which students will receive an offer (if any) to a particular Specialized
High School. DOE would have to consult again with the eight Specialized High School
principals to set new seat targets for the Discovery Program at each Specialized High School and
then recalibrate the cut-off score for each school based on those targets. The revised data would
then have to be sent back to Pearson for verification, re-run through DOE's computer systems to
generate new offer letters, and finally sent to the outside vendors to print and mail the letters
within the contracted three weeks. DOE has never made such a significant course adjustment
midstream in this process before.
         Considering the compressed period in which the DOE (mainly one office) must complete
this complicated Specialized High School offer process; complete the Discovery Program
eligibility review; complete the general high school offer process for all 80,000 applications;
prepare responses in this litigation; and attempt to provide the Court with sufficient time to rule
on the instant motion, the DOE has taken significant steps to push back the admissions timeline
just described to allow for the latest feasible date to mail offer letters: March 18, 2019. To meet
that deadline, DOE must provide finalized information to the outside vendors for printing and
mailing by February 25,2019.
       DOE is mindful that a delay in the mailing of high school offers will increase anxiety for
students and families, cause complications for those students considering private school offers,
and require Specialized High Schools and non-Sp ecialized High Schools to reschedule and re-
staff Open Houses that have already been planned for the second week in March 2019.
Additionally, the School Fair has already been planned for the weekend of March 23 and 24,
2019, where representatives of high schools that still have open seats are available to speak with
students and their families who are considering applying in Round 2 of the high school
application process. Applications for Round 2 are due by March 29,201.9.




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       It hardly needs mentioning that the New York City high school application period is       a
stressful time for students and their families. In light of DOE's good faith attempt to balance the
successful completion of the Specialized High School offer process with the compressed timeline
generated by Plaintiffs' motion for a preliminary injunction, we respectfully request that the
Court rule on the motion by February 25,2019.


                                                            Sincerely




                                                            Marilyn Richter
                                                            Assistant Corporation Counsel




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